                 CASE 0:10-cr-00187-MJD-FLN Doc. 260 Filed 06/03/13 Page 1 of 1

                                UNITED STATES DISTRICT COURT
                                                      District of Minnesota

                           REVISED INFORMATION SHEET - Criminal Cases Only

 1.      United States of America -v- Amina Farah Ali CR 10-187(1) MJD/FLN
 2.      Defendant and Address:                       Reg No. 15351-041
                                                      Ramsey County ADC
                                                      425 Grove Street
                                                      St. Paul, MN 55101
 3.      Date of verdict: 10/20/2011. Length of trial: 13 days. (X) By jury
 4.      Appealing:             (X) Both Sentence & Conviction
 5.      Sentence: Custody of BOP for 240 months, supervised released for life, spec assmt of $1,300.00
 6.      Date sentence imposed: 05/16/2013
 7.      Defendant incarcerated? (X) Yes
 8.      Financial Status:         Fee paid? (X) N/A Counsel appointed
 9.      Notice of Appeal was filed on 05/28/2013.
 10.     Court Reporter:           Lori Simpson
 11.     Trial Counsel:            Daniel M Scott
                                   Kelley, Wolter & Scott, P.A.
                                   431 S Seventh Street; Suite 2530
                                   Mpls, MN 55415
                                   PHONE # 612) 371-9090
 12.     Trial counsel was: (X) Appointed
         Is there any reason why trial counsel should not be appointed on appeal? (X) No
 13.     Assistant U.S. Attorney: Jeffrey S Paulsen & Steven Ward          PHONE #: (612) 664-5600
 14.     List of other defendants in this case & disposition:
         CR 10-187(2) Hawo Mohamed Hassan - Sentenced
 15.     Additional Comments:
         Probation-Please send the PSI, addendums and Statement of Reasons to the Criminal Unit (STP).


         Prepared by: las




N:\Appeals\PDF Rev Info Shts\2013\10cr187(1)Ali.wpd                                                  Modified 12/18/06
